FORM 8. Entry of Appearance
                            Case: 18-2167              Document: 50               Page: 1       Filed: 07/20/2018                              Form 8
                                                                                                                                             Rev. 03/16

      UNITED STATES COURT OF APPEALS FOR THE FEDERAL CIRCUIT
      Indivior, Inc., Indivior UK Limited, Acquestive Therapeutics, Inc.     v.     Dr. Reddy's Laboratories, S.A., Dr. Reddy's Laboratories, Inc.


                                                No.             18-2167, 18-2169

                                                    ENTRY OF APPEARANCE
(INSTRUCTIONS: Counsel should refer to Federal Circuit Rule 47.3. Counsel must immediately file
an updated Entry of Appearance if representation changes, including a change in contact information.
Electronic filers must also report a change in contact information to the PACER Service Center. Pro se
petitioners and appellants should read paragraphs 1 and 18 of the Guide for Pro Se Petitioners and
Appellants. File this form with the clerk within 14 days of the date of docketing and serve a copy of it
on the principal attorney for each party.)
Please enter my appearance (select one):
         Pro Se               As counsel for:     Indivior, Inc., Indivior UK Limited, Aquestive Therapeutics, Inc.
                                                                                                    Name of party
I am, or the party I represent is (select one):
          Petitioner          Respondent                                   Amicus curiae                           Cross Appellant

           Appellant                     Appellee                          Intervenor

As amicus curiae or intervenor, this party supports (select one):
        Petitioner or appellant            Respondent or appellee

Name:                             William Charles Baton
Law Firm:                         Saul Ewing Arnstein & Lehr LLP
Address:                          One Riverfront Plaza
City, State and Zip:              Newark, NJ 07102
Telephone:                        973-286-6700
Fax #:                            973-286-6800
E-mail address:                   wbaton@saul.com
Statement to be completed by counsel only (select one):
         I am the principal attorney for this party in this case and will accept all service for the party. I
         agree to inform all other counsel in this case of the matters served upon me.
         I am replacing                             as the principal attorney who will/will not remain on
         the case. [Government attorneys only.]
         I am not the principal attorney for this party in this case.

Date admitted to Federal Circuit bar (counsel only):                              09/04/2013
This is my first appearance before the United States Court of Appeals for the Federal Circuit (counsel
only):   Yes         No
     A courtroom accessible to the handicapped is required if oral argument is scheduled.
 Date July 20, 2018                 Signature of pro se or counsel /s/ William C. Baton
 cc:    Counsel of Record

                                                                    Reset Fields
                        Case: 18-2167      Document: 50          Page: 2   Filed: 07/20/2018         Form 30
FORM 30. Certificate of Service
                                                                                                    Rev. 03/16


     UNITED STATES COURT OF APPEALS FOR THE FEDERAL CIRCUIT



                                      CERTIFICATE OF SERVICE

  I certify that I served a copy on counsel of record on July 20, 2018
  by:

            U.S. Mail

            Fax

            Hand

            Electronic Means (by E-mail or CM/ECF)



                   William C. Baton                                          /s/ William C. Baton
                  Name of Counsel                                           Signature of Counsel



  Law Firm                        Saul Ewing Arnstein & Lehr LLP

  Address                         One Riverfront Plaza

  City, State, Zip                Newark, NJ 07102

  Telephone Number                973-286-6700

  Fax Number                      973-286-6800

  E-Mail Address                  wbaton@saul.com




NOTE: For attorneys filing documents electronically, the name of the filer under whose log-in and
password a document is submitted must be preceded by an "/s/" and typed in the space where the
signature would otherwise appear. Graphic and other electronic signatures are discouraged.




                                                         Reset Fields
